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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
KRISTIE ROSPENDOWSKI,       :               Civil No. 4:16-CV-00526
                            :
        Plaintiff,          :
                            :
        v.                  :
                            :
COLUMBIA COUNTY SHERIFF and :
TIMOTHY CHAMBERLAIN,        :
                            :
        Defendants.         :               Judge Jennifer P. Wilson
                                   ORDER
      AND NOW, on this 18th day of September, 2020, for the reasons stated in

the accompanying memorandum, IT IS ORDERED that Defendants’ partial

motion for summary judgment on the hostile work environment issue (Doc. 150) is

GRANTED.

                                    s/Jennifer P. Wilson
                                    JENNIFER P. WILSON
                                    United States District Court Judge
                                    Middle District of Pennsylvania
